Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page      of 7YH
                                                                      FILED1 by                             D.C .


  •
                                                                                             Dec 21 , 2018
                                                                                           STEVEN M. LAA IMORE
                             UNITED STATES DISTRICT COURT                                  CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FLORIDA                                   S.D. OF FLA -Ml.PMI


                             Case No.   18-20985-CR-ALTONA GA/GOODMAN
                                        21 u.s.c. § 963
                                        21 u.s.c. § 853

  UNITED STATES OF AMERICA

  vs.

  JAMIN CORDOBA-RENGIFO,
  IVAN EDGARDO GONZALEZ-RAMIREZ,
       a/k/a "Flaco,"
       a/k/a "Fabio," and
  KYLAN PATRICK LILJEBECK,

                        Defendants.


                                           INDICTMENT

        The Grand Jury charges that:

        Beginning in or around February 2018, the exact date being unknown to the Grand Jury,

 and continuing until on or about April 12, 20 18, in the country of Colombia and elsewhere, the

 defendants,

                                JAMIN CORDOBA-RENGIFO,
                          IV AN EDGARDO GONZALEZ-RAMIREZ,
                                       a/k/a "Flaco,"
                                     a/k/a "Fabio," and
                               KYLAN PATRICK LILJEBECK,

 did knowingly and willfully combine, conspire, confederate and agree with other persons known

 and unknown to the Grand Jury, to distribute a controlled substance in Schedule II, intending,

 knowing and having reasonable cause to believe that such controlled substance would be \

 unlawfully imported into the United States, in violation of Title 2 1, United States Code, Section

 959(a); all in violation of Title 21 , United States Code, Section 963.
    Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 2 of 7

      ..

              With respect to JAMIN CORDOBA-RENGIFO, IV AN EDGARDO GONZALEZ-

      RAMIREZ, a/k/a "Flaco," a/k/a "Fabio," and KYLAN PATRICK LILJEBECK, the

      controlled substance involved in the conspiracy attributable to them as a result of their own

      conduct, and the conduct of other conspirators reasonably foreseeable to them, is five (5) kilograms

      or more of a mixture and substance containing a detectable amount of cocaine, in violation of Title

      21, United States Code, Sections 963 and 960(b)(l)(B).

                                     FORFEITURE ALLEGATIONS

              1.     The allegations of this Indictment are re-alleged and incorporated herein for the

      purpose of alleging criminal forfeiture to the United States of America of certain property in which

      the   defendants   JAMIN      CORDOBA-RENGIFO,             IV AN    EDGARDO         GONZALEZ-

      RAMIREZ, a/k/a "Flaco," a/k/a "Fabio," and KYLAN PATRICK LILJEBECK have an

      interest.

              2.     Upon conviction of a violation of Title 21, United States Code, Section 963, as

      alleged in this Indictment, the defendants shall forfeit to the United States any property

      constituting, or derived from, any proceeds the defendant obtained, directly or indirectly, as the

      result of such violation and any property which the defendant used, or intended to be used, in any

      manner or part, to commit, or to facilitate the commission of, such violation.




                                                       2

l
1
J
j
Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 3 of 7



                All pursuant to Title 2 1, United States Code, Section 853, as made applicable by

  Title 21, United States Code, Section 970.

                                                    A TRUE BILL




  KU   K.         EIMER
  ASSISTANT UNITED STATES ATTORNEY




                                                3
    Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 4 of 7
                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA                           CASE NO.
    v.
                                                       CERTIFICATE OF TRIAL ATTORNEY*
    JAMIN CORDOBA-RENGIFO, et al.,
                                  Defendants.          Superseding Case Information:


    Court Division:    (Select One)                    New Defendant(s)                    YesO
                                                       Number of New Defendants
         I./ IMiami        D       Key West            Total number of counts
         D FTL             D       WPB 0FTP
             I do hereby certify that:
             1.       I have carefully considered the allegations of the indictment, the number of defendants, the number
                      of probable witnesses and the legal complexities of the Indictment/Information attached hereto.
             2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                      Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                      Act, Title 28 U.S.C. Section 3161.
             3.       Interpreter:    (Yes or No)
                      List language and/or dialect     S anish


             4.       This case will take       M_     days for the parties to try.
             5.       Please check appropriate category and type of offense listed below:

                      (Check only one)                                  (Check only one)




                                                                 §                               ~
             I        0 to 5 days                                       Petty
             II       6 to IO days                                      Minor
             III      11 to 20 days                                     Misdem.
             IV       21to60 days                                       Felony
             v        61 days and over
             6.        Has this case been previously filed in this District Court? (Yes or No)    No
             If yes:
             Judge:                                              Case No.
             (Attach copy of dispositive order)
             Has a complaint been filed in this matter?          (Yes or No)      NO
             If yes:
             Magistrate Case No.
             Related Miscellaneous numbers:
             Defendant(s) in federal custody as of
             Defendant(s) in state custody as of
             Rule 20 from the District of
             Is this a potential death penalty case? (Yes or No)           No

             7.       Does this case originate from a matter,.nendi.n£.in the~ Region of the U.S. Attorney's Office
                      prior to October g, 2003?       Yes L__J No L..i_J




l   *Penalty Sheet(s) attached
                                                                 KURT        UNKENHEIMER
                                                                 ASSISTANT UNITED STATES ATTORNEY
                                                                 Court I.D. No. A5501535


l                                                                                                             REV 4/8/08




I
    Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 5 of 7



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENAL TY SHEET

      Defendant's Name:      JAMIN CORDOBA-RENGIFO

      Case No:    ~~~~~~~~~~~~~~~~~~~~




      Count#: 1

      Conspiracy to Distribute Cocaine Knowing that it Would be Unlawfully Imported into the
      United States

      Title 21, United States Code, Section 963

      *Max. Penalty:        Life Imprisonment




     *Refers only to possible term of incarceration, does not include possible fines, restitution,
     special assessments, parole terms, or forfeitures that may be applicable.

1


l
    Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 6 of 7



                                 UNITED ST ATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

      Defendant's Name:      IVAN EDGARDO GONZALEZ-RAMIREZ

      Case No:

      Count#: 1

      Conspiracy to Distribute Cocaine Knowing that it Would be Unlawfully Imported into the
      United States

      Title 21, United States Code, Section 963

      *Max. Penalty:        Life Imprisonment




\     *Refers only to possible term of incarceration, does not include possible fines, restitution,
j     special assessments, parole terms, or forfeitures that may be applicable.
l   Case 1:18-cr-20985-CMA Document 1 Entered on FLSD Docket 12/26/2018 Page 7 of 7



                                UNITED ST ATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

     Defendant's Name:       KYLAN PATRICK LILJEBECK



     Count#: 1

      Conspiracy to Distribute Cocaine Knowing that it Would be Unlawfully Imported into the
      United States

      Title 21, United States Code, Section 963

     *Max. Penalty:         Life Imprisonment




     *Refers only to possible term of incarceration, does not include possible fines, restitution,
     special assessments, parole terms, or forfeitures that may be applicable.
